FlLED lN OPEN COURT
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UN|TED STATES D|STR|CT COURT
M|DDLE D|STR|CT OF FLOR|DA

JACKSONV|LLE D|VlS|ON
U.S. DlSTRlCT COURT
M|DDLE DlSTRlCT OF FLOR|DA
UN|TED STATES OF AMER|CA
v. Case No. 3:17-cr-147-J-32PDB

M|GUEL PACHECO-LOPEZ

 

UN|TED STATES’ NOT|CE OF MAX|MUM PENALT|ES, ELEMENTS
OF OFFENSEl PERSONAL|ZAT|ON OF ELEMENTSl AND FACTUAL BAS|S

COMES NOW the United States of America, by and through the

undersigned Assistant United States Attorney, stating as follows:
A. MAX|MUM PENALT|ES

The defendant has expressed a desire to enter a plea of guilty to the
offense charged in Count One of the lndictment. Count One charges the defendant
with encouraging or inducing an alien to come to, enter, or reside in the United
States in violation of law, in violation of Title 8, United States Code, Section
1324(a)(1)(A)(iv). The maximum penalties for Count One are a term of
imprisonment of not more than five years, a fine of not more than $250,000, or both
a term of imprisonment and a fine, a term of supervised release of not more than
three years, and a special assessment of $100, which is due on the date of
sentencing. A violation of the terms and conditions of supervised release is
punishable by a maximum sentence of not more than two years of additional

imprisonment as well as the possibility of an additional term of supervised release.

Conviction of the offense also will adversely affect the defendant’s immigration
status in the United States, both now and in the future, and will result in his removal
from the United States.
B. MNTS_OF THE__C_)FF§NS§
The elements of an offense in violation of Title 8, United States Code,
Section 1324(a)(1)(A)(iv) are:

(‘l) S.M. was an alien, that is, a citizen of another country
and not a citizen of the United States;

(2) the defendant encouraged or induced, or aided or
abetted the encouragement or inducement of, S.M. to
come to, enter, or reside in the United States; and

(3) the defendant knew or recklessly disregarded the fact
that S.M.’s corning to, entering, or residing in the United
States was in violation of law.

C. PERSONAL|ZAT|ON OF ELEMENTS

1. Do you admit that S.M. was an alien, that is, a citizen of
Guatemala and not a citizen of the United States?

2. Do you admit that you encouraged or induced, or aided and
abetted the encouragement or inducement‘of, S.M. to come to, enter, and reside in
the United States by sending money to Guatemala to help pay the expenses for
S.M. to be brought to the United States?

3. Do you admit that you knew or recklessly disregarded the fact

that S.M.’s coming to, entering, or residing in the United States was in violation of

law?

D. FACTUAL BAS|S

1. Purgose

The following facts are set forth to aid the Court in making an inquiry to
satisfy it that there is a factual basis for the plea of guilty in accordance with Ru|e
11(f), Fed. R. Crim. P. The government reserves its right to provide all relevant
information concerning the defendant and the offense committed to the Probation
Office and the Court for sentencing purposes.

2. EB

On June 29, 2017. a Border Patrol Agent encountered a 16-year-o|d
Guatema|an minor, hereinafter referred to as “S.M.", in the Rio Grande Val|ey in
Texas. |n an interview, S.M. stated that he was a citizen of Guatemala and that he
had entered the country illegally. S.M. also said that he had a brother-in-law named
M|GUEL PACHECO-LOPEZ who lived at 11441 Tori Lane in Jacksonville, which
was his destination in the United States.

On Ju|y 6, 2017, HSl agents went to 11441 Tori Lane to locate the
defendant. Because the defendant was not home, the agents went to the
restaurant where the defendant worked. The agents located the defendant at a
store near the restaurant and spoke to him in Spanish. An agent asked the
defendant for his name and the defendant answered that it was M|GUEL
PACHECO-LOPEZ. The agent asked the defendant what his status was in the
United States and the defendant responded, "lllega|". The defendant was then

placed under administrative arrest and transported to the lCE office in Jacksonville

for administrative processing. At the lCE ofhce, the defendant stated, in Spanish.
that his native language is K'iche’, which is an indigenous Mayan language.

HS| agents later interviewed the defendant on two occasions using the
services of a K'iche’ translator. Each time, the defendant was read his Nliranda
rights and he agreed to make a statement without an attorney present. During the
interviews, the defendant stated that his name is M|GUEL PACHECO-LOPEZ, that
he is a citizen of Guatemala, and that he had entered the United States illegal|y. He
said that S.M. is his brother-in-|aw, that is, his wife's brother, and that he had sent
money to Guatemala to help pay the expenses for S.M. to be brought to the United
States. He said that he was not sure what S.M.’s immigration status would be when
S.M. entered the United States but that he thought S.M. would be entering the

country illegally.

Respectful|y submitted,

W. STEPHEN MULDROW
Acting United States Attorney

By: %»\

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CERTIF|CATl§ OF §_ERV|C_E
l hereby certify that on Novemberg_~(_, 2017, the foregoing was filed in
open court and a copy was hand-delivered to the following:
ARNOLD B. CORSME|ER
Assistant United States Attorney

Waffa Hanania, Esq.

